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6
                          IN THE UNITED STATES DISTRICT COURT
7                              FOR THE DISTRICT OF ARIZONA
8
     United States of America,                    No. CR-18-422-PHX-SMB
9
                              Plaintiff,          ORDER
10
        v.
11

12   Michael Lacey - 001
     James Larkin - 002
13   Scott Spear - 004
     John Brunst - 007,
14
                              Defendants.
15

16            Pending before the Court is Defendants’ Amended Unopposed Motion to

17   Extend Deadline for Reply on Motion to Dismiss Indictment (Doc. 571).
18            IT IS HEREBY ORDERED that the motion is GRANTED. The deadline for
19   Defendants’ reply on their Motion to Dismiss the Indictment (Doc. 561) will be July
20   19, 2019.
21
              IT IS FURTHER ORDERED that Defendants’ reply may include up to 25
22
     pages.
23
              Dated this ____ day of May, 2019.
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